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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                  )
    In re:                                                        ) Chapter 11
                                                                  )
    TWC LIQUIDATION TRUST,                                        ) Case No. 18-10601 (MFW)
                                                                  )
                              Debtor.                             )
                                                                  )
                                                                  ) Adv. Proc. No. _________
    Dean A. Ziehl, in his capacity as trustee of the              )
    TWC LIQUIDATING TRUST,                                        )
                                                                  )
                              Plaintiff,                          )
                                                                  )
              v.                                                  )
                                                                  )
    ANDREW R. VARA, in his capacity as the                        )
    United States Trustee for Region 3; RAMONA D.                 )
    ELLIOTT, in her capacity as Acting Director of                )
    the United States Trustee Program; and the                    )
    UNITED STATES TRUSTEE PROGRAM,                                )
                                                                  )
                              Defendants.                         )
                                                                  )


             Dean A. Ziehl (the “Liquidation Trustee”), solely in his capacity as Liquidation Trustee of

the TWC Liquidation Trust formed pursuant to the Fifth Amended Joint Chapter 11 Plan of

Liquidation [Docket No. 3182] (the “Plan”)1 of The Weinstein Company Holdings LLC and its

affiliated debtors (collectively, the “Debtors”), complains as follows:

                                           NATURE OF THE ACTION

             1.     By this action, the Liquidation Trustee seeks a declaration that the TWC

Liquidation Trust is entitled to a refund of excess quarterly fees paid to the United States Trustee

Program (“UST Program”) by the Debtors during the second and third quarter of 2018.



1
      A capitalized term used but not defined herein shall have the meaning ascribed to it in the Plan.

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        2.         The Bankruptcy Judgeship Act was amended pursuant to 28 U.S.C. § 1930(a)(6)

(the “Amendment”), which became effective January 1, 2018.                The Amendment increased

quarterly fees payable to the UST Program solely in districts that follow the UST Program, not in

districts that follow their own administrator programs. Pursuant to the Amendment, the Debtors

paid the UST Program $866,968.57 more than it otherwise would have prior to the Amendment.

Earlier this year, the Supreme Court held in Siegel v. Fitzgerald, 142 S. Ct. 1770 (2022), that the

Amendment is unconstitutional. As a result, the TWC Liquidation Trust is entitled to an immediate

refund of $866,968.57.

                                    JURISDICTION AND VENUE

        3.         This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§

157 and 1334. Venue is proper in this District pursuant to 28 U.S.C. §1409. This adversary

proceeding constitutes a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

        4.         The Court retained jurisdiction over this adversary proceeding pursuant to the

Order Confirming Plan Proponents’ Fifth Amended Joint Chapter 11 Plan of Liquidation [Docket

No. 3203] (“Confirmation Order”), which states that the Court “shall retain jurisdiction over all

matters arising out of, arising under, and related to, the Chapter 11 Cases to the fullest extent as is

legally permissible, including jurisdiction over matters set forth in Section 13 [Retention of

Jurisdiction] of the Plan.” Confirmation Order at ¶ 35. In addition, the Court retained jurisdiction

to issue any order necessary to administer the estate pursuant to Federal Rule of Bankruptcy

Procedure 3020(d).

        5.         Pursuant to section 106 of Title 11 of the United States Code (the “Bankruptcy

Code”), each of the defendant’s sovereign immunity has been abrogated with respect to the claims




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asserted herein and this Court has jurisdiction to “hear and determine any issue arising with respect

to” such claims. 11 U.S.C. § 106(a)(2).

        6.         The Liquidation Trustee consents to entry of final orders or a final judgment by this

Court in this adversary proceeding.

                                             THE PARTIES

        7.         The Liquidation Trustee is the authorized representative of the TWC Liquidation

Trust of the Debtors’ estates, as more fully set forth in the Plan. The Liquidation Trustee is

responsible for, inter alia, implementing the provisions of the Plan, pursuing, prosecuting, and

settling causes of action such as those asserted herein, making distributions to creditors, and

making quarterly fee payments to the UST Program. See Plan at § 6.7; see also Confirmation

Order at ¶¶ 16-17.

        8.         Defendant Andrew R. Vara is the United States Trustee for Region 3 (“Region 3

Trustee”), a regional division of the UST Program, and is responsible for overseeing the operations

of the UST Program in Region 3, which includes the District of Delaware.

        9.         Defendant Ramona D. Elliott is the Acting Director (“Acting Director”) of the UST

Program.

        10.        The UST Program is a component of the United States Department of Justice, an

agency of the Executive Branch of the United States Government, and is responsible for overseeing

the administration of bankruptcy cases pursuant to 28 U.S.C. § 586. The UST Program, Region 3

Trustee, and Acting Director are collectively referred to herein as “Defendants.”




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                                     FACTUAL BACKGROUND

A.      The Debtors’ Chapter 11 Cases and Confirmed Plan

        11.        On March 19, 2018 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

District of Delaware (the “Court”). The Debtors are comprised of over fifty (50) related entities.

The Debtors’ bankruptcy cases are jointly administered.

        12.        On March 28, 2018, the Office of the United States Trustee appointed an Official

Committee of Unsecured Creditors.

        13.        On January 20, 2021, the Debtors and the Official Committee of Unsecured

Creditors jointly filed the Plan. On January 26, 2021, the Court entered the Confirmation Order.

The Plan became effective on February 18, 2021. See Docket No. 3258.

        14.        Pursuant to the Plan and accompanying Liquidation Trust Agreement, the

Liquidation Trustee was appointed as successor-in-interest to, and the representative of, the

Debtors’ estates for the retention, enforcement, settlement, or adjustment of all claims and rights,

known and unknown, and all interests belonging to the Debtors or their estates that arose prior to

the Effective Date, except in connection with any proceeding relating to Sexual Misconduct

Claims as defined in the Plan. Plan at § 6.3. Under the Plan, all of the Debtors’ right, title, and

interest in and to all of the Liquidation Trust Assets, including claims and Causes of Action, were

automatically transferred to the TWC Liquidation Trust. Id. at § 6.5; see also Confirmation Order

at ¶¶ 16-17.

B.      Increased U.S. Trustee Quarterly Fee Schedule

        15.        The UST Program is a component of the United States Department of Justice and

is responsible for overseeing the administration of bankruptcy cases in 88 of the 94 judicial districts



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of the United States. Six judicial districts located in Alabama and North Carolina are overseen by

the Bankruptcy Administrator Program, which is part of the judicial branch and is overseen by the

Administrative Office of the United States Courts (the “Administrator Districts”).                The

Administrative Office of the United States Courts is supervised by the Judicial Conference of the

United States.

        16.        In the judicial districts overseen by the UST program, including the District of

Delaware (the “UST Districts”), chapter 11 debtors are required to pay quarterly fees to the UST

Program in accordance with 28 U.S.C. § 1930, which provides that, among other fees, a “quarterly

fee shall be paid to the United States trustee, for deposit in the Treasury, in each case under chapter

11 of title 11 for each quarter (including any fraction thereof) until the case is converted or

dismissed, whichever comes first.” 28 U.S.C. § 1930(a)(6)(A). The quarterly fees are based on

the total quarterly “disbursements” made by the applicable debtor in each quarter. Id.

        17.        In October 2017, Congress amended 28 U.S.C. § 1930(a)(6) to increase the

quarterly fees payable to the UST Program in chapter 11 cases. Under 28 U.S.C. § 1930(a)(6)(B),

the Amendment increased the maximum fee per debtor by over 800% (from $30,000 to $250,000).

See Bankruptcy Judgeship Act of 2017, Pub. L. No. 115-72, § 1004, 131 Stat. 1224, 1232 (October

26, 2017).

        18.        The Amendment imposed the quarterly fee increase only in UST Districts. The

quarterly fees did not initially apply in the Administrator Districts (i.e., Alabama and North

Carolina) because 28 U.S.C. § 1930(a)(7) provided that “the Judicial Conference of the United

States may require the debtor in a case under chapter 11 of title 11 to pay fees equal to those




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   imposed by paragraph (6) of this subsection.” 28 U.S.C. § 1930(a)(7) (emphasis added).2 In other

   words, additional steps were required to be taken by the Judicial Conference of the United States

   to effectuate the increased quarterly fees in the Administrator Districts.

            19.       Effective January 1, 2018, the UST Program assessed the increased quarterly fees

   on all cases pending in UST Districts.

   C.       Excess Fees Imposed in These Chapter 11 Cases

            20.       From the Petition Date through the effective date of the Plan, the Debtors paid

   quarterly fees on disbursements based on the fee schedule set forth in the Amendment. After the

   effective date of the Plan, the Liquidation Trustee paid, and continues to pay, such quarterly fees

   based on the fee schedule set forth in the Amendment.

            21.       Certain of the Debtors paid a total of $866,968.57 in increased quarterly fees during

   the second and third quarter (Q2 and Q3) of 2018 under the amended quarterly fee schedule,3 as

   compared to applicable fees under the pre-Amendment schedule (collectively, the “Excess Fees”).

   The Excess Fees paid by the Debtors in Q2 2018 and Q3 2018 reflect overpayments that are

   attributable solely to the Amendment. The Excess Fees for each quarter are detailed below:

                                            Q2 2018 Excess Fees
                                                                           Fees Due Prior         Excess Fees
        Debtor Name               Disbursements           Fees Paid
                                                                           to Amendment              Paid
TWC Domestic                         61,290,307.48         250,000.00              30,000.00         220,000.00
The Weinstein Co.                    39,276,966.19         250,000.00              30,000.00         220,000.00
TWC Production LLC                   16,042,495.51         160,424.96              30,000.00         130,424.96
Weinstein Television LLC              6,221,820.31           62,218.20             30,000.00          32,218.20
Q2 2018 TOTAL                      122,831,589.49          722,643.16            120,000.00          602,643.16

   2
        A subsequent amendment, effective January 1, 2021, mandated a uniform fee increase in Administrator Districts
        by changing 28 U.S.C. § 1930(a)(7) to state that the Judicial Conference “shall” require the debtor in
        Administrator Districts to pay fees equal to those imposed under 28 U.S.C. § 1930(a)(6).
   3
        Only the Debtors that paid Excess Fees to the UST Program are identified herein.


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                                                 Q3 2018 Excess Fees
                                                                                    Fees Due Prior           Excess Fees
        Debtor Name                Disbursements               Fees Paid
                                                                                    to Amendment                Paid
TWC Domestic                           7,432,541.24                 74,325.41               30,000.00              44,325.41
The Weinstein Co.                     31,248,992.03                250,000.00               30,000.00            220,000.00
TWC Production LLC                        990,519.25                  4,875.00               4,875.00                         -0-
Weinstein Television LLC               2,556,436.86                  25,564.37              25,564.37                         -0-
Q3 2018 TOTAL                         42,228,489.38                354,764.78               90,439.37            264,325.41

   D.       The Liquidation Trustee Is Entitled to a Refund of Excess Fees

            22.       On June 6, 2022, the Supreme Court unanimously held that the Amendment was

   unconstitutional because it exempted debtors from the Administrator Districts from the quarterly

   fee increase and thereby violated the uniformity requirement of the Bankruptcy Clause at U.S.

   Const., Art. I, § 8, cl. 4. See Siegel v. Fitzgerald, 142 S. Ct. 1770 (2022).4

            23.       Fees paid and collected pursuant to 28 U.S.C. § 1930(a)(6) are deposited in the

   United States Trustee System Fund, which is administered by the UST Program. See 28 U.S.C. §

   589a(b)(5).

            24.       In appropriating funds for the UST Program, Congress made the amounts in the

   United States Trustee System Fund available for the payment of refunds to depositors such as the

   Debtors and the Liquidation Trustee, as follows:

                      [N]otwithstanding any other provision of law, deposits to the United
                      States Trustee System Fund and amounts herein appropriated shall be
                      available in such amounts as may be necessary to pay refunds due
                      depositors.

   Consolidated Appropriations Act, 2019 Pub. L. No. 116-6, at 103-04 (2019).



   4
        Following the Supreme Court’s ruling in Siegel v. Fitzgerald that the Amendment was unconstitutional, the
        Second Circuit and Tenth Circuit have held that a chapter 11 debtor is entitled to a refund of its overpayments to
        the U.S. Trustee. In re Clinton Nurseries, Inc., 998 F. 3d 56, 70 (2d Cir. 2021) (reinstated on remand); In re John
        Q. Hammons Fall 2006, LLC, 15 F. 4th 1011, 1015 (10th Cir. 2021) (same).


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        25.        Moreover, Chapter 3-9.6.2.4 of the United States Trustee Program Policy and

Practices Manual (the “UST Manual”) requires the UST Program to follow “[p]ayment refund

procedures established by the [Executive Office of the United States Trustee] … in the event that

overpayment of quarterly fees necessitates a refund.” UST Manual, Ch. 3-9.6.2.4.

        26.        Because the Amendment was held to be unconstitutional, the Excess Fees paid by

the Debtors and the Liquidation Trustee were unlawfully charged by the UST Program, and the

TWC Liquidation Trust is entitled to a refund of such Excess Fees. Upon information and belief,

there are sufficient funds in the United States Trustee System Fund to provide the TWC

Liquidation Trust with a refund of all Excess Fees.

                                              COUNT 1

                      Declaratory Judgment Regarding Refund of Excess Fees

            (28 U.S.C. § 2201; 11 U.S.C. §§ 105, 1142; Fed. R. Bankr. P. 2020, 3020)

        27.        The Liquidation Trustee repeats and realleges the allegations contained in each

preceding paragraph of this Complaint as though fully set forth herein.

        28.        For the second and third quarters of 2018, the Debtors paid Excess Fees of

$866,968.57 in compliance with the Amendment, which was subsequently deemed

unconstitutional. The Excess Fees exceeded the amount of quarterly fees that the UST Program

was lawfully permitted to charge and that the Debtors and Liquidation Trustee were legally

required to pay.

        29.        An actual, substantial, and justiciable controversy exists between the Defendants

and the Liquidation Trustee as to whether the TWC Liquidation Trust is entitled to recover the

Excess Fees.




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        30.        Pursuant to 28 U.S.C. § 2201, this Court is empowered to “declare the rights and

other legal relations of any interested party” in cases of actual controversy within its jurisdiction.

        31.        Pursuant to section 105(a) of the Bankruptcy Code, this Court is empowered to

“issue any order, process, or judgment that is necessary or appropriate to carry out the provisions

of [the Bankruptcy Code].”

        32.        Pursuant to section 1142(b) of the Bankruptcy Code, this Court is empowered to

“direct the debtor and any other necessary party to… perform any other act… that is necessary for

the consummation of the Plan.”

        33.        A substantial controversy exists between the Defendants and the Liquidation

Trustee of sufficient immediacy to warrant a prompt judicial determination of the respective rights

and duties of the parties. The Liquidation Trustee respectfully prays for a judgment declaring that

the TWC Liquidation Trust is entitled to a refund of the Excess Fees.

                                              COUNT 2

                            Unjust Enrichment – Against UST Program

        34.        The Liquidation Trustee repeats and realleges the allegations contained in each

preceding paragraph of this Complaint as though fully set forth herein.

        35.        The Amendment, which has been held unconstitutional by the Supreme Court,

caused the UST Program to be enriched at the expense of the TWC Liquidation Trust and its

beneficiaries.

        36.        The UST Program received substantial fees that in good conscience should be

refunded to the TWC Liquidation Trust for the benefit of creditors. Based on equitable principles

of restitution for unjust enrichment, the Liquidation Trustee seeks a judgment against the UST




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Program for restitution and disgorgement of the Excess Fees paid by the Debtors during Q2 2018

and Q3 2018.

                                    PRAYER FOR RELIEF

        WHEREFORE, the Liquidation Trustee respectfully prays for judgment against

Defendants as follows:

        a) For a declaration that the TWC Liquidation Trust is entitled to a refund of the Excess

            Fees;

        b) For general and compensatory damages according to proof; and

        c) For such other and further relief as the Court deems just and proper.

December 12, 2022                            PACHULSKI STANG ZIEHL & JONES LLP


                                             /s/ Colin R. Robinson
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                                             Trust




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